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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 PRIMITIVO ROBLES, on behalf of himself
 and all others similarly situated,
                                 Plaintiff,

                     -against-                                       24-CV-7586 (AS)

 TWO BUDS ENTERPRISE, INC. d/b/a TWO                                      ORDER
 BUDS DISPENSARY,
                                 Defendant.



ARUN SUBRAMANIAN, United States District Judge:
         Pursuant to the Court’s October 8, 2024 Order, ECF No. 5, the parties were required to
file a joint letter and proposed case management plan, the contents of which are described
therein, no later than January 8, 2025. To date, the parties have not done so. As a courtesy, that
deadline is hereby EXTENDED, nunc pro tunc, to January 13, 2025.



       SO ORDERED.

Dated: January 10, 2025
       New York, New York



                                                                ARUN SUBRAMANIAN
                                                                United States District Judge
